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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                            Crim. No. 18-CR-32-2 (DLF)
               v.
                                            FILED UNDER SEAL
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



            PARTIES’ JOINT MOTION FOR LEAVE TO FILE UNDER SEAL

       Defendant Concord Management and Consulting, LLC (“Defendant” or “Concord”) and

the United States (collectively, the “Parties”), by and through counsel, jointly move for leave of

the Court to file the attached pleading and its attached Exhibits A-H under seal. The pleading

and exhibits contains references to contents and proposals for handling sensitive discovery

materials, sensitive law enforcement techniques, and other materials that the Parties propose

should be redacted from public filings.



                                      Respectfully submitted,


JOHN C. DEMERS                                               JESSIE K. LIU
Assistant Attorney General for National Security             United States Attorney

By:      /s/                                                 By:      /s/
Heather N. Alpino                                            Jonathan Kravis
U.S. Department of Justice                                   Deborah Curtis
National Security Division                                   Kathryn Rakoczy
950 Pennsylvania Ave. NW                                     555 Fourth Street NW
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2019, I caused a copy of the foregoing motion to seal to

be transmitted to Katherine Seikaly and Eric Dubelier, counsel of record for Concord

Management and Consulting LLC, via email.

                                                            By:       /s/
                                                            Kathryn L. Rakoczy
                                                            Assistant United States Attorney
                                                            555 Fourth Street NW
                                                            Washington D.C. 20530




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